Case 1:20-cv-00033-JAO-RT Document 32 Filed 07/18/20 Page 1 of 2           PageID #: 274




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 Attorney for Plaintiffs

                       UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF HAWAII

  Fallen Productions, Inc., et al.,        )   Case No.: 1:20-cv-33-JAO-RT
                                           )   (Copyright)
                    Plaintiffs,            )
     vs.                                   )   PLAINTIFFS’ NOTICE OF
                                           )   WITHDRAWAL OF SECOND
                                           )   MOTION FOR EXTENSION OF
   MICAL MESOT, et. al.                    )   TIME TO SERVE SECOND
                                           )   AMENDED COMPLAINT AND
                    Defendants.            )   SUMMONS
                                           )
                                           )
                                           )
                                           )

    PLAINTIFFS’ NOTICE OF WITHDRRAWAL SECOND MOTION FOR
  EXTENSION OF TIME TO SERVE SECOND AMENDED COMPLAINT AND
                           SUMMONS

       Plaintiffs Fallen Productions, Inc., HB Production, Inc., Rambo V Productions,

 Inc. and Definition Delaware, LLC, by and through their counsel, withdraw their

 second motion for an extension of time to serve process for an additional 45 days filed

 on July 17, 2020 [Doc. #31]. The Defendant was served today.
Case 1:20-cv-00033-JAO-RT Document 32 Filed 07/18/20 Page 2 of 2   PageID #: 275




       DATED: Kailua-Kona, Hawaii, July 18, 2020.



                              CULPEPPER IP, LLLC


                              /s/ Kerry S. Culpepper
                              Kerry S. Culpepper

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